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   <S> AO 246A (Rtv. 7/04)


                                   UNITED STATES DISTRICT COURT
                                                          DISTRICT OF


             UNITED STATES OP AMERICA ORDER OF DISCHARGE
                                                                      AND DISMISSAL/
                             V- . EXPUNGEM3ENT


            GREGORY SCHULTZ .__ CASE NUMBER: 09-9355


                             ORDER DISCHARGING DEFENDANT FROM PROBATION
                                      AND DISMISSING PROCEEDINGS

      The supervising probation officer having reported that the defendant has complied with the conditions of probation,
 and having recommended that the defendant be discharged from probation at this time and that the proceedings be dismissed
 pursuant to 18 U.S.C. § 3607(a),

       IT IS SO ORDERED.




                                                                             ''Judge

                                                                 Honora^ye Anthony R. Mautone
                                                                 United States Magistrate Judge

                                                                 Name and Title of Judge




                        ORDER DIRECTING EXPUNGJEMENT OF OFFICTAL RECO^r>S

       It appearing that the defendant was less than twenty-one years of age at the time of the offense, IT IS ORDERED that
all references to the defendant's arrest for the offense, the institution of criminal proceedings ogoirut the defendant, and the
results thereof be expunged from all official records (except the nonpublic records to be retained by the Department ofJusEice
pursuant to 18 U.S.C. § 3607(c)).




                        Dare Siyzatwe of Judge




                                                                Name and Title of Judge




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